Case 2:04-Cv-02642-.]PI\/|-tmp Document4 Filed 07/26/05 Pagelon Page|D 41
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UNITED STATES DISTRICT COURT
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WESTERN DISTRICT OF TENNE§§IH
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U'NITED STATES OF AMERICA, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

MICHAEL NEWBORN, Cv. Nb: 04-2642 Ml/P

Cr. No: 01-20024-M1
Defendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS TI-IEREFOR.E ORDERED, AD\J'UDGED, A.ND DECREED that, in
accordance with the Order Correcting the Docket, Order Denying
Motion Pursuant to 28 U.S.C. § 2255, Order Denying Certificate of
Appealability, and Order Certifying Appeal Not Taken in Good
Feith, entered July g(_o, 2005, this ease ie DISMISSED.

APPROVED :

QMC-OM,,

JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

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July 27, 2005 tc the parties listed.

 

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U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

